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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

CECELIA BARDELES,                                 )
                                                  )
         Plaintiff,                               )
                                                  )
v.                                                )   Case No. 2:20-cv-02546-HLT-JPO
                                                  )
WELLPATH, LLC, A/K/A                              )
CORRECT CARE SOLUTIONS, LLC                       )
                                                  )
         Defendant.                               )


                                    CLERK’S EXTENSION

         Defendant Wellpath, LLC (“Wellpath”), pursuant to Local Rule 77.2, respectfully requests

an extension of 14 days within which to answer, reply, or otherwise plead to the Complaint of

Plaintiff Cecelia Bardales (“Plaintiff”).1 On December 30, 2020, Wellpath waived service and

pursuant to Rule 12, is permitted to answer, reply, or otherwise plead to the Complaint of Plaintiff

on or before February 28, 2021. The originally prescribed time has yet to expire and an additional

14 days will allow the Defendant to answer, reply, or otherwise plead on or before March 15,

2021.2

         Defendant Wellpath, LLC hereby requests an additional 14 days, up to and including

March 15, 2021, within which to answer, reply, or otherwise plead to Plaintiff’s Complaint.




1
  Wellpath believes that Plaintiff’s name is spelled “Bardales” and not “Bardeles” as noted in the
case caption.
2
  As February 28, 2021 falls on a Sunday, so would a Clerk’s Extension of 14 days. Therefore,
and pursuant to Rule 6(a)(1)(C), the time to file a responsive pleading would “continue to run
until the end of the next day that is not a Saturday, Sunday, or legal holiday,” which is March 15,
2021 for the instant litigation.
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DATE: February 22, 2021                           Respectfully submitted,

                                                  JACKSON LEWIS P.C.

                                                  /s/ Karen R. Glickstein
                                                  Karen R. Glickstein, KS #14036
                                                  Joshua J. Cervantes, KS #78650
                                                  7101 College Blvd, Suite 1200
                                                  Overland Park, KS 66210
                                                  Telephone: (913) 981-1018
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                                                  Karen.Glickstein@jacksonlewis.com
                                                  Joshua.Cervantes@jacksonlewis.com

                                                  ATTORNEYS FOR DEFENDANT




       Defendant Wellpath, LLC request for a clerk’s extension of time to answer or otherwise
respond to Plaintiff’s Complaint is hereby GRANTED.

       Defendant Wellpath, LLC shall have up to and including March 15, 2021 to answer or
otherwise respond to Plaintiff’s Complaint.

IT IS SO ORDERED.



DATE:     2/22/2021                                     /s/ Lisa Bateman, Deputy Clerk
                                                  CLERK OF THE DISTRICT COURT
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of February 2021, a true and accurate copy of the above
and foregoing was submitted via email to ksd_clerks_kansascity@ksd.uscourts.gov with a copy
sent via electronic mail, to the following:

         Rebecca M. Randles, KS#16832
         Randles Mata, LLC
         851 NW 45th St., Ste. 310
         Kansas City, MO 64116
         (816) 931-9901
         Rebecca@randlesmatalaw.com

         ATTORNEY FOR PLAINTIFF

                                                      /s/ Karen R. Glickstein
                                                      AN ATTORNEY FOR WELLPATH, LLC


4827-0162-8381, v. 1
